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                               United States District Court
                              Southern District of New York


Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

     PLAINTIFF’S UNREDACTED REPLY IN SUPPORT OF MOTION TO COMPEL
              DEFENDANT TO ANSWER DEPOSITION QUESTIONS

       Plaintiff Virginia Giuffre, by and through her undersigned counsel, hereby files this

Reply in Support of her Motion to Compel Defendant to Answer Deposition Questions. Instead

of allowing Ms. Giuffre to take a full and complete deposition, Defendant flatly refused to
                                                                                           -
answer questions critical to the key issues in this case. Contrary to Defendant’s assertions, Ms.

Giuffre is not engaged in a “fishing expedition” but rather seeks to ask highly-focused questions

specifically relevant to this case. In particular, Ms. Giuffre seeks to ask the Defendant questions

regarding her participation in or knowledge of sexual activities connected with Jeffrey Epstein’s

sexual abuse of females. Such questions are entirely appropriate in the discovery phase of this

case, particularly where any answers will be maintained as confidential under the Protective

Order entered in this case.

       As the Court is aware from previous pleadings, at the heart of this case lies the issue of

Defendant’s knowledge that Ms. Giuffre was sexually abused by Jeffrey Epstein. Indeed, as the

Defendant boldly acknowledges in her response (at p. 2), she intends to argue at trial that (among

other things) she “never arranged for or asked [Ms. Giuffre] to have sex with anyone.” At trial,


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Ms. Giuffre intends to strongly disprove Defendant’s false assertions and to demonstrate that

Defendant recruited Ms. Giuffre to be involved in massages of a sexual nature with Epstein.

       To develop evidence to support her position, Ms. Giuffre recently deposed Defendant

about the central subjects in her case. Defendant flatly refused to answer a number of questions,

and for the majority of the others, gave varying versions of “I don’t recall.” For example, when

faced with the police report which contains statements from approximately thirty (30) different

victims during a time frame which the Defendant acknowledges she was actively working for

Epstein at his various homes, Defendant challenged the veracity of the victims’ reports:

       “Q. Are you saying these 30 girls are lying when they gave these reports to police
       officers?
       A. I’m not testifying to their lies. I’m testifying to Virginia’s lies.”

See Declaration of Sigrid McCawley (“McCawley Decl.”) at Exhibit 1, April 22, 2016

Deposition of Defendant at p. 89-90; 83-84. While Defendant was working with Epstein during

the time period when these underage girls were visiting Jeffrey’s home, Defendant claimed to be

at the house maybe once in 2005. Id. at p. 84. Yet, according to flight manifests, in that same

general time period, Defendant was listed as a passenger at least eleven times either landing in or

departing from West Palm Beach, Florida on Jeffrey Epstein’s private plane. See McCawley

Decl. at Exhibit 1, April 22, 2016 Depo Tr. at p. 84; see also McCawley Decl. at Composite

Exhibit 2, Flight Logs from Jeffrey Epstein’s private planes.

       Moreover, again according to flight logs, Defendant was on Epstein’s planes over 300

times – including 23 times with Ms. Giuffre when Ms. Giuffre was underage. Yet, quite

remarkably, Defendant claimed she “couldn’t recall” even one of those flights. See McCawley

Decl. at Exhibit 1, April 22, 2016 Deposition of Defendant at p. 120-122.




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        Defendant even testified that she did not recall having Ms. Giuffre at her London

townhome with Prince Andrew. Defendant stuck to this incredible story despite flight logs

establishing her traveling to London with Ms. Giuffre and despite a photograph the three – Ms.

Giuffre, Prince Andrew and Defendant – all standing together in Defendant’s home. See

McCawley Decl. at Exhibit 1, April 22, 2016 Deposition of Defendant at p. 108-111.

Defendant’s deposition consisted almost entirely of “I don’t recalls” or “I refuse to answer that

question”1 and also included a physical outburst that knocked the court reporter’s computer off

the conference room table. See McCawley Decl. at Exhibit 1, April 22, 2016 Deposition of

Defendant at 207-208.

        Among the many questions that Defendant refused to answer at her deposition were a

number of questions designed to show that Defendant was well aware that, for Epstein, a

“massage” was actually a code word sexual activity – i.e., not a therapeutic massage but rather

activity that involved sexual gratification for Epstein. Defendant refused to answer all such

questions, asserting that they involved “private adult sexual relationships” which did not “relate

in any way” to Ms. Giuffre’s claims. Id. at p. 4. But Defendant’s involvement in such

“relationships” with Epstein would show that she knew full well the fate that was in store for Ms.

Giuffre when she accepted Defendant’s invitation to come and provide “massages” to Epstein.

Defendant admitted that she worked for Epstein from 1992 to 2009. See McCawley Decl. at


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  For example, when asked:
         “Q. Have you ever said to anybody that you recruit girls to take the pressure off you, so you
won’t have to have sex with Jeffrey, have you said that?
         A. You don’t ask me questions like that. First of all, you are trying to trap me, I will not be
trapped. You are asking me if I recruit. I told you no. Girls meaning underage, I already said I don’t do
that with underage people and as to ask me about a specific conversation I had with language, we talking
about almost 17 years ago when this took place. I cannot testify to an actual conversation or language
that I used with anybody at any time.”

See McCawley Decl. at Exhibit 1, April 22, 2016 Depo Tr. at p. 94-95.


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Exhibit 1, April 22, 2016 Deposition of Defendant at p. 10-11, 410. As the Court knows, the

Palm Beach Police Report demonstrates multiple incidents of “massages” being given by

untrained minor children that involved sexual acts. See McCawley Decl. at Exhibit 3, Palm

Beach Police Report. Defendant is also identified in that Palm Beach Police Report. See

McCawley Decl. at Exhibit 3, Palm Beach Police Report at p. 75-76. And the details of

Epstein’s sexual activities with Defendant (for example) are highly relevant to this case, because

they will help corroborate Ms. Giuffre’s testimony that, while she was underage, she also

engaged in sexual activity of an identical nature with Epstein.

       To allow Defendant to avoid answering these questions would preclude Ms. Giuffre from

getting critical evidence in this case. Consider, for example, Defendant recruiting an eighteen

year-old girl to be an “assistant,” bringing that girl to Epstein’s home, telling her she could make

more money if she would give Epstein a massage, and then instructing her to give a massage that

involved sexual acts. Under Defendant’s theory of discovery, Ms. Giuffre would be precluded

from deposing her on that topic because the actions would culminate in “consensual adult sex.”

Yet, that scenario would fully validate the pattern of events that occurred with Ms. Giuffre when

she was under the age of eighteen. It would obviously show a “modus operandi” by Jeffrey

Epstein and Defendant, which is clearly admissible under Fed. R. Evid. 404(b).

       Moreover, such inquiries are crucial to impeaching the Defendant at trial. During her

deposition, Defendant attempted to characterize her work for Epstein as nothing more than a

normal job handling hiring for the various mansions. See McCawley Decl. at Exhibit 1, April

22, 2016 Deposition Tr. of Defendant at p. 9-12. Ms. Giuffre should be able to contest that

assertion by having Defendant fully answer questions about whether that alleged “job” involved




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sexual activities, including orchestrating the hiring of females and converting massages into

sexual encounters.

        Defendant attempts to paint the picture that Ms. Giuffre somehow is interested in all

sexual relationships that the Defendant may have been involved with. That is not true. Ms.

Giuffre has no intention of asking unbridled questions. To be clear, Ms. Giuffre intends to ask

Defendant only questions that involve the following very narrow and crucial subject areas: (1)

Defendant’s sexual relationship with Epstein from 1992 to 2009 – the time period in which she

worked for Jeffrey Epstein and which Epstein (with the assistance of Defendant) was engaging in

sexual acts with females under the cover of “massage”; (2) Defendant’s sexual interactions with

any person in Epstein’s presence during that time period; (3) Defendant’s sexual activities at

Epstein’s residences, including his private island “Little St. Jeff’s,” or his aircraft during that

time period; (4) Defendant’s sexual activities with identified participants in Epstein’s sexual

abuse during that time period; and (5) Defendant’s sexual interactions that occurred during or

through what began as a “massage”; and (6) Defendant’s interactions with females to introduce

to Jeffrey Epstein for the purpose of performing work, including sexual massages.

        Defendant claims that such questions are a mere “fishing expedition” without

acknowledging the fact that these questions go to critical issues in this case. Other witnesses

have testified regarding Defendant’s involvement in recruiting females for sex under the cover of

a “massage.” During the investigation of Jeffrey Epstein, certain household staff was deposed.

Alfredo Rodriguez, who was Jeffrey Epstein’s household manager, testified that the Defendant

frequently stayed in Jeffrey Epstein’s home and assisted with bringing in young girls to act as

“masseuses” for Jeffrey Epstein.

        Q. “Okay. Going back to where we started here was, does Ghislaine Maxwell have
            knowledge of the girls that would come over to Jeffrey Epstein’s house that are in



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           roughly the same age group as C. and T. (minor children) and to have a good time as
           you put it?
       A. Yes.
       Q. And what was her involvement and/or knowledge about that?
       A. She knew what was going on.”

See McCawley Decl. at Exhibit 4, Alfredo Rodriguez July 29, 2009 Dep. Tr. at 176-177. See

also McCawley Decl. at Exhibit 4, Alfredo Rodriguez July 29, 2009 Depo Tr. at 96-101 (noting

that high school age girls come to the home where Jeffrey Epstein and Ms. Maxwell reside).

Juan Alessi, another household employee, also testified that young girls were regularly present at

Jeffrey Epstein’s home where Ghislaine Maxwell resides. See McCawley Decl. at Exhibit 5,

Juan Alessi November 21, 2005 Sworn Statement at p. 15-16, 21. Specifically, Juan Alessi

informed the Palm Beach Police Detective as follows: “Alessi stated that towards the end of his

employment, the masseuses were younger and younger. When asked how young, Mr. Alessi

stated they appeared to be sixteen or seventeen years of age at most.” (emphasis added.) See

McCawley Decl. at Exhibit 3, Palm Beach Police Report at p. 57.

       During Juan Alessi’s November 21, 2005 Sworn Statement taken by the Palm Beach

Police Department, Mr. Alessi revealed that girls would come over to give “massages” and he

observed Ms. Maxwell going upstairs in the direction of the bedroom quarters. See McCawley

Decl. at Exhibit 5, Juan Alessi November 21, 2005 Sworn Statement at 10. He also testified that

after the massages, he would clean up sex toys that were kept in “Ms. Maxwell’s closet.” Id. at

11-13. See also McCawley Decl. at Exhibit 6, Juan Alessi September 8, 2009 Depo Tr. at p. 76-

77. He added that he and his wife were concerned with what was going on at the house (Id. at

14) and that he observed girls at the house, including one named “Virginia.” Id. at 21.

       Mr. Rodriguez also testified that Defendant also had naked pictures of girls performing

sexual acts on her computer. See McCawley Decl. at Exhibit 7, Alfredo Rodriguez August 7,

2009 Dep. Tr. at 311-312; See also McCawley Decl. at Exhibit 6, Juan Alessi September 8, 2009


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Depo Tr. at p. 40-41 (“I know she [Maxwell] went out and took pictures in the pool because later

on I would see them at the desk or at the house. And nude - 99.9 percent of the time they were

topless. They were European girls.”).

       Q. “Did they appear to be doing any sexual?
       A. Yes, ma’am.
       Q. And in these instances were there girls doing sexual things with other girls?
       A. Yes, ma’am.
       Q. And I’m still talking about the pictures on Ms. Maxwell’s computer.
       A. Yes, ma’am.”

Upon leaving his employment, Rodriguez testified that Defendant threatened him that he should

not tell anyone about what happened at the house:

       A. “I have to say something. Mrs. Maxwell called me and told me not to ever discuss or
           contact her again in a threaten(ing) way.
       Q. When was this?
       A. Right after I left because I call one of the friends for a job and she told me this, but,
           you know, I feel intimidated and so I want to keep her out…
       Q. She made a telephone call to you and what precisely did she say?
       A. She said I forbid you that you’re going to be – that I will be sorry if I contact any of
           her friends again…She said something like don’t open your mouth or something like
           that. I’m a civil humble, I came as an immigrant to service people, and right now you
           feel a little –I’m 55 and I’m afraid. First of all, I don’t have a job, but I’m glad this is
           on tape because I don’t want nothing to happen to me. This is the way they treat you,
           better do this and you shut up and don’t talk to nobody and—
       Q. When you say this is the way they treat, who specifically are you talking about when
           you say that word they?
       A. Maxwell. ”

See McCawley Decl. at Exhibit 4, Alfredo Rodriguez July 29, 2009 Dep. Tr. at 169 – 172.

       In sum, at the core of this case are statements made by Ms. Giuffre that she was recruited,

by Defendant, to be paid as a masseuse, yet was enticed or coerced into engaging in sexual acts

with Epstein and Defendant for money. She has further explained that the recruitment of females

through the offer of some legitimate position was the typical way in which Defendant and

Epstein lured unsuspecting females to the house before converting the relationship into a sexual



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one. Ms. Giuffre has described the frequency of these “massages”, the sexual tendencies of the

participants, the manner in which the massages became sexual in nature, and Defendant’s role at


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each stage.

       In response, Defendant has called Ms. Giuffre’s entire account “untrue” and “obvious

lies.” Defendant has instead tried to portray her role as nothing more than an Epstein employee

performing typical household management duties. Any personal knowledge Defendant has of

Epstein’s sexual tendencies, habits, and use of massage for sex is entirely relevant to either

corroborate Ms. Giuffre’s account. Likewise, Defendant’s participation in any sexual acts with

Epstein, in his presence, on his properties, using his mode of converting massages into sex, or

with females will directly corroborate Ms. Giuffre’s account. On the other hand, without access

to the answers to these inquiries, Ms. Giuffre will be unable to expose the bias of Defendant,

unable to thoroughly cross-examine Defendant’s position that she was just a lowly employee,

and most importantly unable to demonstrate through the Defendant’s own admissions that Ms.

Giuffre’s statements about Epstein and Defendant were absolutely true – and not “obvious lies.”

       Finally, Defendant fails to recognize that, for the discovery purposes at issue here,

relevance “is an extremely broad concept.” Am. Fed'n of Musicians of the United States &

Canada v. Sony Music Entm't, Inc., No. 15CV05249GBDBCM, 2016 WL 2609307, at *3

(S.D.N.Y. Apr. 29, 2016). And once relevance is shown, “the party resisting discovery bears the

burden of demonstrating that, despite the broad and liberal construction afforded the federal

discovery rules, the requests are irrelevant, or are overly broad, burdensome, or oppressive.” Id.

Here, the requests are not “overly broad” as Ms. Giuffre’s specific explanations of the targets of

her questions make clear. Moreover, answering the questions is not “oppressive,” particularly

given the fact that Defendant has placed all substantive aspects of the Deposition under seal. Of




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course, once Defendant answers the question – and her answers are placed under seal – the

parties can file any further motions that may be required to determine whether the answers may

be introduced at trial.

                                           CONCLUSION

        Defendant should be ordered to answer questions regarding sexual activity connected

with Epstein’s sexual abuse and sexual trafficking organization as specifically identified above

Dated: May 11, 2016

                                                Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 11th day of May, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

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